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                                  21-56292

              IN THE UNITED STATES COURT OF APPEALS

                        FOR THE NINTH CIRCUIT



MIRANDA WALLINGFORD and
RICHARD WALLINGFORD,
                         Plaintiffs-Appellants,

         v.

ROB BONTA, in his official capacity as
Attorney General of the State of California;
and DOES 1-10,
                       Defendants-Appellees.

              On Appeal from the United States District Court
                   for the Central District of California
                     No. 8:21-cv-01412-DOC-KES
                  The Honorable David O. Carter, Judge


                  REPLY BRIEF IN SUPPORT OF
               DEFENDANT-APPELLEE ROB BONTA’S
                  MOTION TO DISMISS APPEAL

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                              INTRODUCTION
     In his supplemental brief (Dkt. 39), Defendant-Appellee Rob Bonta

(“Attorney General”) notified the Court that the restraining orders against

Plaintiffs-Appellants Miranda and Richard Wallingford (“Appellants” or

“Wallingfords”) had expired on their own terms after the Orange County

Superior Court dismissed Jessica Nguyen’s motions to renew the orders on

January 17, 2023. See Dkt. 41 at Exs. 1, 2 (superior court order dismissing

Ms. Nguyen’s motions to renew the restraining orders). The Attorney

General also explained that the orders’ expiration mooted the Wallingfords’

constitutional challenge to state laws requiring the confiscation of firearms

while a restraining order is in effect.1 Dkt. 39 at 3-9.

     The Court construed the brief as a motion to dismiss and asked the

parties for response and reply briefs. Dkt. 44. For the reasons discussed in

the supplemental brief and below, the Court should dismiss this appeal.

Appellants do not dispute that this matter is moot as a result of the expired

restraining orders, and their efforts to establish an exception to the mootness

doctrine fall well short.



      1
       California Code of Civil Procedure §§ 527.6, subd. (u), and 527.9
and California Penal Code §§ 29825, 27500, 27540, 30305-30306, 30370.
See Dkt. 7-5 (4-ER-0668-69 [Compl. ¶ 6]).
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     In opposition, the Wallingfords argue that this matter is “capable of

repetition yet evading review,” claiming it is reasonably likely that

Ms. Nguyen will apply for a restraining order in the future. Even if true, it is

speculative to suggest that the superior court will issue a restraining order,

particularly given the court’s recent denial of a renewal request. The

Wallingfords therefore cannot establish a “reasonable likelihood” that they

will be subjected to the challenged restrictions anew. Moreover, their

inexcusable two-year delay in challenging the state laws undermines their

argument that this matter evades review.

     The Wallingfords’ further argument that another exception to the

mootness doctrine applies—based on the idea that non-parties may benefit

from the challenge to an ongoing policy—was flatly rejected by the Supreme

Court in United States v. Sanchez-Gomez, 138 S.Ct. 1532 (2018).

     Finally, Appellants’ claim that the “voluntarily cessation” exception

applies here ignores the fact that the restraining orders triggering the

firearms restrictions have expired under their own terms, and not as a result

of any action by the State.




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     This matter is now moot, and no exception applies. The Court should

dismiss the appeal as moot, vacate the decision below, and remand with

instructions to dismiss this case as moot. 2

                                ARGUMENT

I.   THIS MATTER IS NOT “CAPABLE OF REPETITION YET EVADING
     REVIEW”
     The Wallingfords argue that their claims are “capable of repetition yet

evading review” because they have a “reasonable expectation” that

Ms. Nguyen may seek new restraining orders against them, again triggering

the firearm prohibition under California Code of Civil Procedure

Section 527.6.3 Dkt. 45 at 1-4. This argument, however, ignores the fact

that the superior court has already rejected Ms. Nguyen’s motions to renew

the restraining orders, in spite of the extensive record of disputes between

the neighbors, and any reissuance of a restraining order is speculative.4 See

Dkt. 41.


      2
       The complaint seeks only declaratory and injunctive relief on the
Second Amendment claim. Dkt 7-5 (4-ER-678-81).
      3
       All subsequent statutory reference are to the California Code of Civil
Procedure, unless otherwise noted.
      4
        The Attorney General’s supplemental brief (Dkt. 39 at 6 n.5)
outlined the extensive history of restraining orders, hearings, and trials
between Ms. Nguyen and Appellants in this matter. See Dkt. 7-5 (4-ER-

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     Appellants do not dispute that the restraining orders have expired and

fail to establish that it is reasonably likely that a superior court will issue a

new restraining order against them. Rather, they rely on the history of

conflict and legal actions between them and Ms. Nguyen to argue that

Ms. Nguyen will “likely” apply for new restraining orders against them.

Dkt. 45 at 2-3. But even if Ms. Nguyen applies for new restraining orders, it

is speculative to assume that any superior court will grant such orders—even

on a temporary basis. To the contrary, the available evidence indicates that

the superior court is likely to reject any such requests. The court was

already aware of the long history of conflict between Ms. Nguyen and the

Wallingfords when it denied Ms. Nguyen’s request to renew the orders.

Dkt. 41. Therefore, any assumption that a court would grant Ms. Nguyen’s

request for another restraining order—when it has already rejected such a

request based on the same evidence—is speculative, and therefore “not a

sufficient basis on which a court can conclude that a reasonable expectation

of recurrence exists.” Brach v. Newsom, 38 F.4th 6, 14 (9th Cir. 2022); see

also Williams v. Alioto, 549 F.2d 136, 143 (9th Cir. 1977) (noting that “[a]




373-429, 640-46 [Nov. 1, 2019 Minute Orders]; 673-75 [Compl. ¶¶ 25-26,
30, 37]; see also Dkt. 7-3 (2-ER-22-63); Dkt. 7-4 (3-ER-373-429).
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mere speculative possibility of repetition is not sufficient” to apply the

mootness exception).

      Moreover, this matter is not the type of case that evades review.

Appellants do not dispute that they waited two years after the permanent

restraining order issued in November 2019 before filing this action (Dkt. 7-5

(4-ER-681)), yet still argue that “federal litigation—through appeal—takes

years to resolve.” Dkt. 45 at 4 (emphasis in original). The record in this

case refutes Appellants’ assertions. In spite of Appellants’ delay, this matter

reached this court by November 2021—only three months after being filed

in district court—and was briefed, argued, and submitted less than eight

months after being docketed in this Court. Dkt. 1, 26. Had Appellants

promptly challenged Section 527.6, this Court could have resolved the

appeal before the expiration of the three-year restraining order. And of

course, both this Court and the district court have procedures available for

emergency or expedited relief, which Appellants did not utilize. As such,

this matter cannot be defined as one that evades review to justify an

exception to the mootness doctrine.

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II.   THE SUPREME COURT REJECTED THE “HOWARD EXCEPTION” TO
      THE MOOTNESS DOCTRINE

      Appellants also contend that a mootness exception articulated in United

States v. Howard, 480 F.3d 1005 (9th Cir. 2007) should apply here, because

they challenge an ongoing policy affecting other individuals potentially

subject to Section 527.6 through the equivalent of a “functional class

action.” Dkt. 45 at 5-7. The Supreme Court has denied this argument. See

Sanchez-Gomez, 138 S.Ct. at 1538 (“We reject the notion that Gerstein [v.

Pugh, 420 U.S. 103, 110-11 (1975)] supports a freestanding exception to

mootness outside the class action context”; see id. at 1540 (The “mere

presence of allegations that might . . . benefit other similarly situated

individuals cannot save [plaintiffs’] suit from mootness once their individual

claims have dissipated.”) (cleaned up).

III. THE VOLUNTARY CESSATION DOCTRINE DOES NOT APPLY
      Appellants’ argument that the voluntary cessation doctrine should

apply—because Ms. Nguyen allegedly holds “the lever that triggers the

injury that the Wallingfords complain of” (Dkt. 45 at 7)—misunderstands

the doctrine. The voluntary cessation doctrine does not depend on

Ms. Nguyen, but on whether the State voluntarily ceased its conduct. See

Rosebrock v. Mathis, 745 F.3d 963, 972 (9th Cir. 2014) (defining conditions

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in which a policy change may render a case moot). Here, the State did not

voluntarily halt enforcement of the firearms restrictions; the restraining

orders triggering those restrictions “expired by their own terms.” Brach,

38 F.4th at 12. Without the State’s voluntary cessation of any conduct, the

voluntary cessation doctrine does not apply.

      Appellants’ claim that this matter may be ripe for a facial constitutional

challenge under New York State Rifle & Pistol Ass’n v. Bruen, 142 S. Ct.

2111 (2022) (see Dkt. 45 at 8) is also unavailing. Because there is no

pending restraining order, there is no injury that may be redressed in this

case. See Portman v. County of Santa Clara, 995 F.2d 898, 902 (9th Cir.

1993) (the ripeness doctrine “seeks to separate matters that are premature for

review because the injury is speculative and may never occur”) (citation

omitted).

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                              CONCLUSION
     Because this case became moot “during the course of an appeal and

pending a decision on the merits,” this Court should dismiss the appeal,

“vacate the judgment below and remand with a direction to dismiss.” City &

County of S.F. v. Garland, 42 F.4th 1078, 1088 (9th Cir. 2022) (quotation

omitted).

Dated: March 1, 2023             Respectfully submitted,

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                     UNITED STATES COURT OF APPEALS
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                                  CERTIFICATE OF SERVICE
Case Name:        Miranda Wallingford et al. v.           No.    21-56292
                  Rob Bonta

I hereby certify that on March 1, 2023, I electronically filed the following documents with the
Clerk of the Court by using the CM/ECF system:
REPLY BRIEF IN SUPPORT OF DEFENDANT-APPELLEE ROB BONTA’S MOTION
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I certify that all participants in the case are registered CM/ECF users and that service will be
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2023, at Sacramento, California.


                Eileen A. Ennis                                 /s/ Eileen A. Ennis
                   Declarant                                         Signature

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